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 7   COMPANY OF CALIFORNIA
 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, et al.,           Case No. CV 91-0589 (CJC)
12                                Plaintiffs,    DEFENDANTS’ OPPOSITION TO
                                                 PLAINTIFF UNITED STATES’
13        v.                                     MOTION FOR PARTIAL
                                                 SUMMARY JUDGMENT;
14   SHELL OIL COMPANY, et al.,                  MEMORANDUM OF POINTS
                                                 AND AUTHORITIES IN
15                               Defendants.     SUPPORT THEREOF; REQUEST
                                                 FOR ORAL ARGUMENT
16
17                                                Date:    October 5, 2020
                                                  Time:    1:30 p.m.
18                                               Judge:    Hon. Cormac J. Carney
                                                 Ctrm.:    9B, Ronald Reagan Federal
19                                                         Building
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2           Defendants Shell Oil Company, Texaco Inc., Atlantic Richfield Company,
 3     and Union Oil Company of California (collectively, the “Companies”) hereby
 4     submit this response (the “Response”) to the Motion for Partial Summary Judgment
 5     as to the Amount of Recoverable Response Costs filed by Plaintiff United States of
 6     America (“US”) on July 10, 2020 (the “Motion”).
 7                                  I.     INTRODUCTION.
 8                  This Court should deny the Motion as the US has failed to carry its
 9     burden of proof and there are numerous triable issues of material fact. Specifically,
10     the US has submitted objectionable declarations and evidence that should be struck
11     by the Court; the US has made admissions against interest as to unexplained
12     accounting irregularities related to costs purportedly incurred at the McColl
13     Superfund Site in Fullerton, California (“Site”) during the periods at issue; and the
14     US—an adjudged liable polluter at the Site––is limited to a claim for contribution
15     and has failed to submit sufficient appropriate evidence in support of its Motion.
16                  In addition to its other evidentiary objections, the Companies object to
17     and ask the Court to strike in their entirety the declarations of Christopher S.
18     Osborne; Wiley R. Wright; Rusty Harris-Bishop; Magdalen Mak; and Lisa Ouyang,
19     filed in support of the Motion based on the failure of the US to disclose these
20     witnesses at any time prior to filing its Motion.
21                  Furthermore, the US’ Motion should be denied because the US has
22     admitted through the Office of the Inspector General of the Environmental
23     Protection Agency (“OIG”) to unexplained accounting irregularities (and possible
24     fraud) at the Site, which have likely resulted in the US seeking ineligible costs
25     through this Motion. As the non-moving party, the evidence must be viewed in a
26     light most favorable to the Companies and all inferences must be drawn in the
27     Companies favor. Neither the US’ Motion nor the documents submitted in support
28     thereof explain the nature and extent of the ineligible costs or indicate how they
                                                  -1 -
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 1     were segregated from those costs sought in this Motion, if at all.
 2                   Finally, the US failed to meet its evidentiary burden of consistency
 3     with the National Oil and Hazardous Substances Pollution Contingency Plan
 4     (“NCP”), 40 C.F.R. § 300. The instant dispute presents, among other objections, a
 5     narrow issue of first impression arising from a unique procedural posture: whether
 6     the US—which has been adjudged a liable polluter at the Site—is entitled to pursue
 7     an action under Section 107 of the Comprehensive Environmental Response,
 8     Compensation, and Liability Act, 42 U.S.C. §§ 9601-9675 (“CERCLA”), 42 U.S.C.
 9     § 9607(a)(4)(A), and whether the US is entitled to the rebuttable presumption of
10     consistency with the NCP in Section 107(a) for its alleged response costs associated
11     with the Site solely due to its status as the “United States Government.” See 42
12     U.S.C. § 9607(a)(4)(A); 42 U.S.C. § 9607(f). The US incorrectly assumes that it is.
13     (See Motion, at 15-16, ECF No. 680.) The US wishes to pursue its claim under
14     Section 107 because “[i]f a cost-recovery suit succeeds, the defendants are strictly
15     as well as jointly and severally liable.” Cranbury Brick Yard, LLC v. United States,
16     943 F.3d 701, 704 (3d Cir. 2019). And under Section 107(a)(4)(A), the US would
17     then be allowed to recover “all costs of removal or remedial action incurred by the
18     United States Government . . . not inconsistent with the national contingency plan.”
19     The US is mistaken.
20                   It would be contrary to CERCLA’s intent to allow the US—which for
21     over a decade acted as an uncooperative potentially responsible party (“PRP”) at
22     the Site—to take advantage of statutory presumptions reserved for cooperating
23     PRPs by not holding it to the proper evidentiary standard applicable in contribution
24     for recovery of its alleged response costs and interest. Specifically, because the US
25     has been adjudged a liable party at the Site1 and has entered into partial consent
26     1
        See “The United States conceded that it was an arranger for the ‘benzol’ waste.” United
27     States v. Shell Oil Co., 294 F.3d 1045, 1048, 1062 (9th Cir. 2002) (citing United States v.
       Shell Oil Co., No. 91-cv-00589, at 14-19 (C.D. Cal. Sept. 18, 1995)); id. at 1048 (“The
28     district court also held that the United States had waived its sovereign immunity to suit
       under 42 U.S.C. § 9620(a)(1). After trial, the district court held that 100% of the cleanup
                                                    -2 -
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 1     decrees with the state of California,2 the US is limited to a claim for contribution
 2     and must prove that its “necessary costs of response incurred” were “consistent
 3     with the national contingency plan” in accordance with 42 U.S.C. § 9607(a)(4)(B)
 4     (see United States v. Shell Oil Co., 294 F.3d 1045, 1048 (9th Cir. 2002)). The
 5     verified and unverified information provided by the US to the Companies to date is
 6     incomplete and does not meet this standard, and to the extent that the US intends to
 7     rely on additional supporting evidence and data, the Companies are entitled to test
 8     the sufficiency of such evidence.3
 9                   Alternatively, even if the Court concludes that the US can proceed
10     with a CERCLA Section 107(a) cost recovery claim, which the Companies strongly
11     dispute, there is numerous genuine issues of material fact as to whether the US’
12     claimed response costs are appropriate and whether they meet the statutory
13     standards.
14     ///
15     ///
16     ///
17
18     costs for all the waste, including the non-benzol waste, should be allocated to the United
       States, and 0% to the Oil Companies, under 42 U.S.C. § 9613(f)(1).”) (citation omitted).
19     On appeal, the district court’s holding was reversed as to the US’ status as an arranger for
       non-benzol waste only (i.e., the US remains liable as an arranger for benzol waste at the
20     Site). Shell Oil Co., 294 F.3d 1048-1049.
       See also Partial Consent Decree Between Plaintiff State of California and the United
21     States as Counterclaim Defendant Regarding State Response Costs for the Period July
       2008 through June 2011 and [Proposed] Order (“2008-2011 Partial Consent Decree”), at
22     4; Partial Consent Decree Between Plaintiff State of California and the United States as
       Counterclaim Defendant Regarding State Response Costs for the Period July 2011
23     through June 2016 and [Proposed] Order (“2011-2016 Partial Consent Decree”), at 4-5
       (same).
24     2
         2008-2011 Partial Consent Decree, at 5-6; 2011-2016 Partial Consent Decree, at 5-6.
       3
25       The recent related decisions by the United States Court of Federal Claims finding the US
       liable as indemnitor in partial breach of contract for these same costs, the value of
26     avoiding further unnecessary litigation, and the interests of economy of public and private
       resources, and judicial efficiency provide a solid basis for equitable reallocation under 42
27     U.S.C. § 9613(f) at the Site. See Cadillac Fairview/California, Inc. v. Dow Chem. Co.,
       299 F.3d 1019, 1025 (9th Cir. 2002). And the Companies intend to file a motion for
28     reallocation of costs based on these same factors.
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 1                                    II.    BACKGROUND.
 2                   A.    Factual and Procedural Background.
 3                   Because the US’ statement of the case is deficient, the Companies
 4     present a more complete and detailed statement of the background of this dispute.
 5     The United States Court of Federal Claims has recently summarized the
 6     background of the litigation between the Companies and the US related to the Site.
 7     See, Shell Oil Co. v. United States, No. 19-1795C, ---Fed.Cl.---, 2020 WL 3618890
 8     (Fed. Cl. June 29, 2020) (Request for Judicial Notice (“RJN”), Ex. 2.) The court’s
 9     summaries provide useful context for the current dispute.4
10                   The events underlying this dispute date back to World War II. (RJN,
11     Ex. 2 at 3.) As the US entered World War II, high-octane aviation gasoline
12     (“avgas”) became critical to the war effort. At the onset of the war, production
13     levels were insufficient to support military operations. As a result, the US entered
14     into contracts with the American petroleum industry to purchase large quantities of
15     avgas and rapidly expand avgas production facilities. The contracts required the
16     Companies to sell large quantities of avgas to the government at artificially low
17     profit margins in return for the “[g]overnment’s assumption of certain risks outside
18     of the [o]il [c]ompanies’ control,” including the “risks of such increased
19     productions.” (Id. at 2 (internal quotation mark and citation omitted).) The
20     government further agreed in each of the contracts to “pay any new or additional
21     taxes, fees, or charges, ... which [the oil companies] may be required by any
22     municipal, state, or federal law in the United States or any foreign country to
23     collect or pay by reason of the production, manufacture, sale or delivery of
24     [avgas].” (Id. (internal quotation marks and citation omitted).)
25                   These contracts resulted in significantly increased avgas production
26
       4
        The Companies acknowledge that the Court of Federal Claims’ recitations of the
27     background “do not constitute findings of fact by the court. Instead, the recited factual
       elements [were] taken from the complaint, the parties’ briefs and attached appendices, and
28     previous opinions in related litigation.” Shell Oil Co., 2020 WL 3618890, at *1 n.1.
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 1    and proved crucial to the war effort; however, the exigencies of this effort also
 2    resulted in environmental contamination, including “ultimately requiring the oil
 3    companies to dump ‘spent alkylation acid, along with acid sludge, on property in
 4    California owned by Eli McColl.’” (RJN, Ex. 2 at 3.) The Companies disposed of
 5    acid waste on the Site from 1942 until shortly after the war ended in 1945, when the
 6    government terminated the contracts. The McColl site closed on September 6,
 7    1946. (Id.) There is no dispute that the response costs claimed by the US in this
 8    litigation are the very same costs for which the US has a contractual obligation to
 9    indemnify the Companies. See, Shell Oil Co. v. United States, 130 Fed. Cl. 8, 34
10    (2017) (heading) (capitalization omitted); Shell Oil Co., 896 F.3d at 1316.
11
            B.     Prior Litigation, Stay of Proceedings, and Partial Consent Decrees
12                 Between the United States and State of California.
13                 In the early 1990s, the US and the State sued the Companies under
14    CERCLA, seeking to recover costs from cleaning up the Site. In response,
15    Companies counterclaimed for breach of contract, arguing that indemnification
16    provisions in the avgas contracts required the US to pay for the cleanup. (Docket
17    No. 669 at 2.) Specifically, the Companies sought reimbursement costs of the non-
18    benzol acid waste cleanup based on breach of contract. Shell Oil Co. v. United
19    States, 896 F.3d 1299, 1305 (Fed. Cir. 2018).
20                 This matter has a lengthy procedural history as noted by the Court of
21    Federal Claims. (RJN, Ex. 2 at pgs. 3-4). Relevant for this Motion, on September
22    18, 1995, this Court adjudged the US, in its capacity as a counterclaim defendant, to
23    be a liable party at the Site under CERCLA Section 107(a)(3), 42 U.S.C. §
24    9607(a)(3). The Companies were also found liable, and, as a result, have borne
25    nearly all the clean-up costs incurred since 1994.
26                 On June 28, 2002, the United States Court of Appeals for the Ninth
27    Circuit affirmed the portion of this Court’s judgment that found the US liable for
28    100% of costs associated with benzol waste (Shell Oil Co., 294 F.3d at 1059-61),
                                                 -5 -
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 1    despite the US’ ongoing attempts to avoid liability. (2011-2016 Partial Consent
 2    Decree, Docket No. 635 at 4.)5
 3                  The Companies and the US subsequently reached a compromise
 4    stipulation that the US’ share of the costs at the Site amounted to 6.25 percent.
 5    (Joint Request For Status Conference (Aug. 12, 2003) at 1-2 n.1 (Docket No. 507).)
 6    This agreement constituted an equitable allocation, recognizing that the US shares
 7    liability under CERCLA at the Site. As an adjudicated PRP and liable party, the US
 8    is responsible in this action under CERCLA for reimbursing the Companies for the
 9    US’ 6.25 percent share of the costs paid to the State under the 1994 Consent
10    Decree. (Docket No. 635 at 4-5.)
11                  Later, this Court concluded that the Court of Federal Claims had
12    exclusive jurisdiction over the contract counterclaims encompassing the very same
13    costs the US is seeking here, so the Companies re-filed those claims in that Court.
14    In 2007, recognizing the relatedness of the claims, this Court imposed a stay of the
15    proceedings pending resolution of the Companies’ contract indemnity claims
16    against the US in the Court of Federal Claims. (Docket Nos. 665-2 at 2; 669 at 2.)
17                  While the case was pending in the Court of Federal Claims, the State
18    and the US agreed that under CERCLA and prior proceedings in this case, the State
19    was entitled to recover from the US the portion of State’s response costs for the
20    periods of October 1990 through June 2008, July 2008 through June 2011, and July
21    2011 through June 2016 that constituted the US’ allocable share of such costs
22    incurred by the State in connection with the release or threatened release of
23    hazardous substances at the Site. The US made settlement payments to the State to
24    resolve the US’ allocable share of liability under CERCLA for those periods. These
25    agreements were memorialized by the State and the US and approved by this Court
26    in partial consent decrees on July 10, 2009 (Docket No. 620), on March 21, 2012
27
      5
       For ease of reference a copy of Docket No. 635 is attached as Ex. L to the Christianson
28    Decl., ¶ 22.
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 1    (Docket No. 624), and on September 19, 2017. (Docket 635 at 5-6.)
 2                 In early 2016, the Court of Federal Claims held a trial on the
 3    Companies’ claims for breach of contract for reimbursement of CERCLA costs
 4    related to the non-benzol acid waste clean-up; found that “all of the acid waste
 5    disposed of at the McColl site was ‘by reason of’ the avgas contracts’”; and
 6    awarded the Companies $99,509,847.32 in damages, which represented 100 percent
 7    of the costs the Companies incurred at the Site through November 30, 2015, plus
 8    statutory interest. Shell Oil Co. v. United States, 130 Fed. Cl. 8, 34 (2017) (heading)
 9    (capitalization omitted). The Federal Circuit unanimously affirmed the judgment on
10    July 18, 2018. Shell Oil Co., 896 F.3d at 1316. Significantly, in 2017, the Court of
11    Federal Claims noted:
12          “the United States . . . reneged on contractual promises made during
13          World War II to American oil companies that voluntarily agreed to
14          ‘work night and day,’ without regard to shareholder obligations, to
15          increase the production of military aviation gas. In 2014, the United
16          States Court of Appeals for the Federal Circuit held the Government
17          was liable for a breach of contract . . . . After affording the parties
18          additional discovery and an evidentiary hearing, the court has
19          determined that the above captioned oil companies collectively are
20          entitled to $99,590,847.32, including $30,991,111.02 in interest which
21          the U.S. taxpayers could have avoided paying, if the Government had
22          lived up to its obligations, instead of wasting years in litigation.”
23          (RJN, Ex. 1 at 1 (emphasis added).)
24          C.     Current Procedural Posture.
25                 As mentioned above, in 2007, this Court imposed a stay of the
26    proceedings pending resolution of the Companies’ related contract claims against
27    the US in the Court of Federal Claims. A year or so after the Court of Federal
28    Claims case was finally affirmed by the Federal Circuit opinion issued on July 18,
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 1    2018, the US initiated the filing of a joint status report and status conference with
 2    the Court to get the stay of the enforcement case lifted. (Declaration Supplement of
 3    William A. Weinischke in Support of United States’ Motion for Partial Summary
 4    Judgment for Recovery of Costs. (“Weinischke Suppl. Decl”) ¶¶ 8, 10-11.) The
 5    Companies opposed lifting the stay because the US, despite losing in the Court of
 6    Federal Claims,6 continued to dispute liability for the costs at issue in this Court.
 7    (Weinischke Suppl. Decl. ¶¶ 10-11.) By order of the Court, the stay was lifted on
 8    October 23, 2019. (Weinischke Suppl. Decl. ¶ 11.)
 9                                 III.   LEGAL STANDARD
10                  Summary judgment is not appropriate where a movant cannot establish
11    that “there is no genuine dispute as to any material fact and the movant is entitled to
12    judgment as a matter of law.” Fed. R. Civ. P. 56(c). A genuine dispute regarding a
13    material fact arises when the existence or non-existence of the fact could lead a jury
14    to different outcomes. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
15    The burden of demonstrating that there are no genuine disputes of material facts lies
16    with the moving party. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
17                  In resolving the motion, the Court must view material facts about
18    which there is a genuine dispute “in the light most favorable to the nonmoving
19    party.” Ricci v. DeStefano, 557 U.S. 557, 586 (2009). The opposing party’s
20    evidence is to be believed, “and all reasonable inferences that may be drawn from
21    the facts placed before the court must be drawn in favor of the opposing party.”
22    Wilson v. Pier 1 Imports (US), Inc., 439 F. Supp. 2d. 1054, 1062-1063 (E.D. Cal
23    2006). “At the summary judgment stage, the court does not make credibility
24    determinations or weigh conflicting evidence.” Porter v. Cal. Dep’t of Corr., 419
25    F.3d 885, 891 (9th Cir. 2005) (citation omitted). To establish a factual dispute, the
26
      6
27      The Companies reserve all rights, claims and defenses under the avgas contracts to seek
      all available relief from the US for any amounts the Companies may be held liable for in
28    this action.
                                                  -8 -
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 1    opposing party does not have to establish a material issue of fact conclusively in its
 2    favor; it is sufficient that “the claimed factual dispute be shown to require a jury or
 3    judge to resolve the parties’ differing versions of the truth at trial.” T.W. Elec. Serv.,
 4    Inc. v. Pacific Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987) (quoting
 5    First Nat’l Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 288-89 (1968)).
 6                                  IV. ARGUMENT
            A.     The United States failed to disclose five witnesses whose
 7
                   declarations were filed in support of the Motion in violation of
 8                 FRCP 26(a).
 9                 The Companies object to and ask the Court to strike the declarations of
10    Christopher S. Osborne; Wiley R. Wright; Rusty Harris-Bishop; Magdalen Mak;
11    and Lisa Ouyang filed in support of the Motion based on the US’ failure to disclose
12    these witnesses at any time prior to filing the Motion. Federal Rule of Civil
13    Procedure 37(c)(1) forbids the use at trial or on a motion of any information not
14    properly disclosed under Rule 26(a) unless the failure to disclose is substantially
15    justified or harmless. The failure to disclose these additional witnesses violates the
16    US’ discovery obligations and, after 29 years of litigation, was in no way justified
17    and prejudiced the Companies’ ability to conduct materially relevant discovery.
18          B.     The United States failed to explain accounting irregularities
19                 identified at the Site by the EPA’s Inspector General.
20                 As the non-moving party, all evidence must be viewed in a light most

21    favorable to the Companies and all inferences must be drawn in the Companies’

22    favor. See, Tolan v. Cotton, 572 U.S. 650, 651 (2014).

23                 Here, the evidence clearly shows a genuine question of material fact

24    exists as to the US’ entitlement to the costs sought in this Motion. The OIG

25    conducts audits and issues reports to “identify potential fraud, waste and abuse;

26    assess program compliance and management of agency processes.” (Christianson

27    Decl. ¶ 43, Ex. R.) The OIG’s Semiannual Report to Congress for the period

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 1    October 1, 1995, through March 31, 1996,7 provided the following summary of an
 2    audit related to the Site:
 3
 4
 5
 6    (Christianson Decl. ¶ 44, Ex. S.)
 7                  Neither the US’ Motion nor the documents submitted in support
 8    thereof explain the above ineligible costs or indicate their segregation and removal
 9    from those costs sought in this Motion.
10                  This example is one of many that illustrate systemic issues with
11    respect to the US’ cost recovery efforts at Superfund sites in general and the Site in
12    particular as documented and admitted by the OIG. (See, examples of OIG reports
13    finding numerous issues with EPA’s Superfund cost recovery efforts involving the
14    same contractors the EPA employed at the Site during the same period in which the
15    US now seeks to recover costs, at Christianson Decl. ¶¶ 45-48, Exs. T-W.)
16                  In light of the US’ failure to explain the above ineligible costs or
17    indicate their removal from the costs sought in this Motion, and the inference that
18    must be drawn in the Companies’ favor, the Motion must fail because there is
19    insufficient evidence to sustain the US’s burden of proof and clearly a question of
20    material fact as to whether the US is entitled to the amount it seeks.
21
              C.    The United States cannot pursue a claim under CERCLA Section
22                  107, 42 U.S.C. § 9607; it is limited to a claim under CERCLA
                    Section 113(f), 42 U.S.C. § 9613(f).
23
                    After a decades long coast-to-coast crusade to avoid its obligations, the
24
      US is still seeking to foist its responsibilities on the Companies. The Companies
25
      answered the US’ call to service and “voluntarily agreed to ‘work day and night,’
26
      7
27      The OIG Report is admissible nonhearsay evidence due to the Party Admission, Prior
      Inconsistent Statement, and Ancient Document exclusions. See Fed. R. Civ. P.
28    801(d)(1)(A), (d)(2); Fed. R. Civ. P. 803(16).
                                                 -10 -
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 1    without regard to shareholder obligations, to increase the production of military
 2    aviation gas.” Shell Oil Co., 130 Fed. Cl. at 11 (RJN, Ex. 1). Ignoring this history
 3    and its own obligations, the US is still attempting to recover from the Companies its
 4    alleged response costs, for which it has provided inadequate evidentiary support,
 5    under inapplicable authority. (See Motion at 15.) In addition, the US wishes to
 6    benefit from having its response costs—which were allegedly incurred in relation to
 7    the Site after the close of discovery in the Lawsuit—reviewed under the favorable
 8    standard of CERCLA Section 107(4)(a)(A), which is reserved for non-liable
 9    “persons.”8 That cannot be so; a recalcitrant party—even if it happens to be the
10    federal government—is not entitled to such deference for its costs. Or in CERCLA
11    terms, an adjudicated polluter which has been found liable under CERCLA 107(a)
12    and has entered into partial consent decrees with a state to pay for a state’s response
13    costs cannot escape the more rigorous standard under CERCLA Section
14    107(a)(4)(B). “[A]ny person who accepts or accepted any hazardous substances . . .
15    from which there is a release, or a threatened release which causes the incurrence of
16    response costs, of a hazardous substance, shall be liable for— . . . any other
17    necessary costs of response incurred by any other person consistent with the
18    national contingency plan.” 42 U.S.C. § 9607(a)(4)(B) (emphasis added); 42 U.S.C.
19    § 9601(21).9
20                   Congress enacted CERCLA “to force polluters to pay for costs
21    associated with remedying their pollution.” United States v. Alcan Aluminum Corp.,
22    964 F.2d 252, 257-58 (3d Cir. 1992) (citation omitted). CERCLA “was designed to
23    promote the timely cleanup of hazardous waste sites and to ensure that the costs of
24
      8
25      See Motion at 2 (“As discussed below, the cleanup of hazardous substances at the Site is
      governed by CERCLA, 42 U.S.C. §§ 9601-9675, as amended. If the United States
26    conducts a response action, it is entitled to recover ‘all costs of removal or remedial action
      incurred by the United States Government . . . not inconsistent with the national
27    contingency plan.’ 42 U.S.C. § 9607(a)(A)(4).”)
      9
        “The term ‘person’ means a[] . . . corporation, . . . United States Government, State,
28    municipality, . . . or any interstate body.” 42 U.S.C. § 9601(21).
                                                    -11 -
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 1    such cleanup efforts were borne by those responsible for the contamination.”
 2    Burlington Northern and Santa Fe Ry. Co. v. United States, 556 U.S. 599, 602
 3    (2009) (internal quotation marks and citation omitted). This statutory mandate is
 4    equally applicable to the US, which has waived sovereign immunity. Shell Oil Co.,
 5    294 F.3d at 1052 (citing 42 U.S.C. § 9620(a)(1)).10
 6                 CERCLA provides two distinct procedural mechanisms for a party
 7    who has incurred costs associated with the cleanup of hazardous substances to
 8    recover some or all of those costs from another PRP. One method is a cost-recovery
 9    action under 42 U.S.C. § 9607(a); the other is a contribution claim under 42 U.S.C.
10    § 9613(f). In United States v. Atlantic Research Corp., 551 U.S. 128, 138-39
11    (2007), the U.S. Supreme Court explained the difference between the two “clearly
12    distinct” remedies: Section 113(f) explicitly grants PRPs a right to contribution
13    defined as the “tortfeasor’s right to collect from others responsible for the same tort
14    after the tortfeasor has paid more than his or her proportionate share, the shares
15    being determined as a percentage of fault.” (Quoting Black’s Law Dictionary 353
16    (8th ed. 2004).). A PRP may seek contribution during or following a suit under
17    Section 106 or Section 107(a), before or after the establishment of common
18    liability. Id. at 138 (citing 42 U.S.C. § 9613(f)(1)). By contrast, Section 107(a)
19    permits a PRP to recover the costs it has “incurred” in cleaning up a site without
20    establishing liability to a third party, but does not create a right to contribution. Id.
21    at 139; see also Whittaker Corp. v. United States, 825 F.3d 1002, 1007 (9th Cir.
22    2016) (“A party uses contribution to get reimbursed for being made to pay more
23    than its fair share to someone else, and uses cost recovery to get reimbursed for its
24    own voluntary cleanup costs.”).
25
      10
26      See, e.g., United States v. Newmont USA Ltd., 504 F. Supp. 2d 1050, 1069 (E.D. Wash.
      2007) (holding that the federal government was a CERCLA PRP, due to mining activities
27    that occurred on tribal land “owned” by the United States); El Paso Nat. Gas Co., LLC v.
      United States, 390 F. Supp. 3d 1025, 1042 (D. Ariz. 2019) (“The United States is liable as
28    a CERCLA operator for its role in rim stripping at these three Mine Sites.”).
                                                  -12 -
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 1                 CERCLA does not provide for a choice of remedies. “The remedies
 2    available in CERCLA §§ 107(a) and 113(f) complement each other ‘by providing
 3    causes of action to persons in different procedural circumstances.’” Atlantic
 4    Research, 551 U.S. at 139 (quoting Consolidated Edison Co. of N.Y. v. UGI
 5    Utilities, Inc., 423 F.3d 90, 99 (2nd Cir. 2005)). A PRP that pays money to satisfy a
 6    settlement agreement or a court judgment may pursue Section 113(f) contribution
 7    by reimbursing response costs paid by other parties, but has not incurred its own
 8    response costs and cannot recover under Section 107(a). Id. “As a result, though
 9    eligible to seek contribution under § 113(f)(1), the PRP cannot simultaneously seek
10    to recover the same expenses under § 107(a).” Id. (emphasis added). Similarly, a
11    PRP cannot avoid CERCLA Section 113(f) by choosing to impose joint and several
12    liability against a PRP under CERCLA Section 107(a). Id. at 140. “[A] party who
13    may bring a contribution action for certain expenses must use the contribution
14    action, even if a cost recovery action would otherwise be available.” Whittaker
15    Corp., 825 F.3d at 1007 (citing Kotrous v. Goss-Jewett Co. of N. Cal., 523 F.3d
16    924, 932 (9th Cir. 2008) (“A PRP cannot choose remedies, but must proceed under
17    § 113(f)(1) for contribution if the party has paid to satisfy a settlement agreement or
18    a court judgment pursuant to an action instituted under . . . § 107 [for cost
19    recovery].”)). A PRP who settles its CERCLA liability with the federal or state
20    government enjoys immunity under 42 U.S.C. § 9613(f)(2) from contribution
21    claims and may seek contribution from any non-settling party. Alcoa, Inc. v. Alcan
22    Rolled Products-Ravenswood LLC, 439 F. Supp. 3d 325, 334 (D. Del. 2020),
23    reconsideration denied, No. CV 06-451-JFB-SRF, 2020 WL 1180713 (D. Del.
24    2020) reconsideration denied, No. CV 06-451-JFB-SRF, 2020 WL 1180713 (D.
25    Del. Mar. 11, 2020) (footnote omitted) (citing Cranbury, 943 F.3d at 705).
26    ///
27    ///
28    ///
                                                 -13 -
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 1                 In Alcoa, Inc., the Court explained that CERCLA prohibits polluters
 2    from using CERCLA as a “sword and shield”:
 3                 A polluter who enjoys immunity from contribution claims under
 4          § 9613(f)(2) cannot bring a cost recovery claim, but may only bring a
 5          contribution claim. Cranbury, 943 F.3d at 705; see Agere Sys., Inc. v.
 6          Advanced Envtl. Tech. Corp., 602 F.3d 204, 229 (3d Cir. 2010)).
 7          “[T]he Agere Systems rule helps apportion cleanup costs equitably by
 8          keeping polluters from using their immunity as both sword and a
 9          shield.” Id. Without that rule, settling polluters could wield the
10          immunity § 9613(f)(2) offensively to escape liability by imposing
11          on[e]-hundred percent of its liability on a nonsettling polluter through
12          joint and several liability under § 9607(a). See Cranbury, 943 F.3d at
13          706.
14    Alcoa, Inc., 439 F. Supp. 3d at 334.
15                 In Cranbury, the Third Circuit also explained the prohibition:
16                 So if a polluter like LexCorp who is immune from contribution
17          claims could bring a cost-recovery action, it could use that immunity
18          to eschew equitable apportionment, impose the harshness of joint and
19          several liability against other polluters, and shift its own liability in the
20          process. To avoid this perverse result, we held in Agere Systems that a
21          polluter who has contribution-claim immunity under § 9613(f)(2)
22          cannot bring a cost-recovery claim. Instead, it can bring only a
23          contribution claim.
24    Cranbury, 943 F.3d at 706 (internal quotations and citations omitted)
25    ///
26    ///
27    ///
28    ///
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 1                 In this case, the US should not be allowed to proceed with a Section
 2    107(a)(4)(A) claim and to take advantage of the favorable standards and
 3    presumptions in that provision despite its status as the federal government for the
 4    following reasons:
 5          1. the Companies prevailed against the US under CERCLA Section 107(a)
 6              for 100 percent of the benzol waste (and cleanup costs) at the Site, Shell
 7              Oil Co., 294 F.3d at 1048-49;
 8          2. the Companies prevailed against the US under a breach of contract theory
 9              for reimbursement for CERCLA costs of the non-
10              benzol acid waste clean-up, Shell Oil Co., 2020 WL 3618890, at *1;
11          3. the US has entered into partial consent decrees (i.e., settlements) with the
12              State for the State’s responses costs related to the Site; and
13          4. the parties have stipulated to an allocation of cleanup costs at the Site
14              under CERCLA Section 113(f) (Docket No. 507 at 2 n.1).
15                 In sum, either the US never had a viable cost recovery claim under
16    CERCLA Section 107(a), but rather only a contribution claim under CERCLA
17    Section 113(f), or if the US had a cost recovery claim, it lost it as a result of being
18    adjudicated liable under CERCLA, losing on the Companies’ contract claims, and
19    settling with the State. Therefore, the US is limited to a CERCLA Section 113(f)
20    contribution claim against the Companies. Put another way, because it is itself a
21    liable party, the US is limited to an action for contribution (i.e., reimbursement for
22    paying more than its fair share) under CERCLA Section 113(f).
23                 The US—an adjudicated and settling polluter—cannot now wield
24    CERCLA—namely, the Section 113(f) immunity “offensively to escape liability by
25    imposing on[e]-hundred percent of its liability on a nonsettling polluter through
26    joint and several liability under § 9607(a).” Alcoa, Inc., 439 F. Supp. 3d at 334
27    (citing Cranbury, 943 F.3d at 706). The US has not fully acknowledged and
28    resolved its liability at the Site despite the fact that “CERCLA encourages polluters
                                                 -15 -
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 1    to settle . . . to get cleanups started sooner” and that “[c]ontribution-claim immunity
 2    under § 9613(f)(2) promotes those efficient settlements.” Cranbury, 943 F.3d at
 3    706. In fact, the US has vehemently opposed imposition of liability every step of
 4    the way, but time and time again (whether in this Court or in the Court of Federal
 5    Claims), the US has lost and been forced to pay. Its recalcitrant conduct is contrary
 6    to CERCLA’s purpose, and it should not be rewarded with the favorable standard in
 7    CERCLA Section 107(a)—which is reserved for cases where the government bears
 8    no liability, or at a minimum is not a recalcitrant PRP.
 9                 A Ninth Circuit case also supports the conclusion that the government,
10    which itself is a PRP, cannot wear two hats and seek to impose joint and several
11    liability on non-governmental PRPs.11 In Fireman’s Fund Ins. Co. v. City of Lodi,
12    California, 302 F.3d 928, 946-47 (9th Cir. 2002), as amended on denial of reh’g
13    and reh’g en banc (Oct. 8, 2002), the Ninth Circuit considered whether a local
14    ordinance enacted by a city (“Lodi”) (known by its acronym “MERLO”), which
15    permitted Lodi to investigate and remediate the hazardous waste contamination of
16    its soil and groundwater, was preempted by CERCLA. The plaintiff argued, in part,
17    that MERLO conflicts with CERCLA because under MERLO, “Lodi may impose
18    joint and several liability for the entire clean-up cost onto any one PRP, whereas
19
      11
20       Additional support for this position can be found in an oft-cited article by a team of
      preeminent CERCLA PRP attorneys who wrote:
21            It is not at all obvious why the government should be allowed to impose
              joint and several liability at every CERCLA site, no matter the factual
22            context, especially in cases where it is the most significant remaining party,
              or the most significant of those parties that still remain viable. . . . [T]his
23            principle has little force as applied to a site where the government itself has
              caused some or all of the contamination. In such a case, the public, no less
24            than a private party, has profited from environmental contamination and
              should be forced to internalize those costs.
25    Kevin A. Gaynor, Benjamin S. Lippard, Sean M. Lonnquist, Unresolved CERCLA Issues
26    After Atlantic Research and Burlington Northern, 40 Envtl. L. Rep. News & Analysis
      11198, 11203-04 (2010) (footnote omitted).
27    See also Shell Oil Co., 294 F.3d at 1053 (“We recognize that by making the United States
      liable ‘in the same manner and to the same extent’ as a private party, § 9620 does subject
28    the government to significant risk of liability.”).
                                                  -16 -
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 1    CERCLA does not permit a PRP such as Lodi to impose joint and several liability
 2    on other PRPs.” Id. at 946-47 (internal quotation marks omitted). The circuit court
 3    concluded that this provision of MERLO conflicts with CERCLA:
 4                Our circuit has held that a PRP may not bring a CERCLA § 107
 5          cost recovery action, and instead may bring only a claim for
 6          contribution under CERCLA § 113(f). This means that a PRP does not
 7          have a claim for the recovery of the totality of its cleanup costs against
 8          other PRPs, and a PRP cannot assert a claim against other PRPs for
 9          joint and several liability. In support of our decision in Pinal Creek
10          [Group v. Newmont Mining Corp., 118 F.3d 1298 (9th Cir. 1997)], we
11          noted that allowing a party responsible for part of the contamination to
12          impose joint and several liability on other PRPs would result in unfair
13          cost shifting and guarantee[ ] inefficiency, potential duplication, and
14          prolongation of the litigation process in a CERCLA case. We have not
15          recognized any exception to Pinal Creek for municipal PRPs and we
16          decline to do so now.
17                Thus, if the district court determines that Lodi is a PRP, Lodi
18          may not escape its share of responsibility by imposing all the costs of
19          cleanup on others. Allowing it to do so would interfere with
20          CERCLA’s PRP cost allocation scheme, and would implicate the same
21          policy concerns relied upon by this court in Pinal Creek in rejecting a
22          § 107 cost recovery action for PRPs. For these reasons, we find that
23          MERLO is preempted to the extent that it legislatively insulates Lodi
24          from bearing its share of responsibility by imposing joint and several
25          liability on other PRPs.
26    Fireman’s Fund, 302 F.3d at 947 (internal quotation marks and citations omitted
27    and emphasis added); see also U.S. v. Nat’l R.R. Passenger Corp., No. CIV.A. 86-
28    1094, 2004 WL 1335723, at *4 (E.D. Pa. June 15, 2004) (“since [“the Southeastern
                                                -17 -
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 1    Pennsylvania Transportation Authority”] is a PRP relating to its retrofilling claims,
 2    it cannot pursue a Section 107 CERCLA claim against [American Premier
 3    Underwriters, Inc.]”); In re Kaiser Grp. Int’l, Inc., 289 B.R. 597, 605 (Bankr. D.
 4    Del. 2003) (“We consequently conclude that a governmental entity, if it is a PRP,
 5    may not proceed under section 107(a) but is limited to seeking contribution under
 6    section 113.”).
 7                 Significantly, in the opinion that the Ninth Circuit originally issued in
 8    Fireman’s Fund (which was later withdrawn), the Ninth Circuit declined to address
 9    this preemption issue, stating that “[w]e have not yet considered, however, whether
10    a government PRP such as a municipality that similarly incurs response costs may
11    bring a cost-recovery action under CERCLA § 107.”12 The Ninth Circuit’s initial
12    reliance on Hunter suggests that the Ninth Circuit views the answer to the
13    preemption issue in this case as equally applicable to the federal government (U.S.
14    Environmental Protection Agency (“EPA”) was the CERCLA plaintiff in Hunter,
15    70 F. Supp. 2d at 1101).
16                 Accordingly, because the US—an adjudicated and settling PRP and
17    polluter—was sued in Shell Oil Co., found liable under Section 107(a) and under
18    breach of contract theory at the Site, and entered into partial consent decrees with
19    the state of California, the US is limited to a CERCLA Section 113(f) contribution
20    claim against the Companies. See Fireman’s Fund, 302 F.3d at 947. The US cannot
21    now wield CERCLA Section 113(f) immunity “offensively to escape liability by
22    imposing on[e]-hundred percent of its liability on a nonsettling polluter through
23
      12
         Fireman’s Fund Ins. Co. v. City of Lodi, California, 271 F.3d 911, 948-49 (9th Cir.
24    2001), as amended (Jan. 8, 2002), opinion withdrawn sub nom. Fireman’s Fund Ins. Co.
      v. City of Lodi, CA, 287 F.3d 810 (9th Cir. 2002), and superseded sub nom. Fireman’s
25    Fund Ins. Co. v. City of Lodi, California, 302 F.3d 928 (9th Cir. 2002), as amended on
      denial of reh’g and reh’g en banc (Oct. 8, 2002) (Comparing United States v. Hunter, 70
26    F.Supp.2d 1100, 1108 (C.D. Cal 1999) (holding that the government PRP may bring a
      cost-recovery action under CERCLA § 107, thereby imposing joint and several liability
27    on the defendant PRP), with City of Fresno v. NL Indus., Inc., No. CV-F 93-5091
      REC/DLB, 1995 WL 641983, at *2-5 (E.D. Cal. July 9, 1995) (holding that because the
28    City of Fresno was a PRP, it was “limited to an action for contribution under CERCLA”).
                                                 -18 -
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 1    joint and several liability under § 9607(a).” Alcoa, Inc., 439 F. Supp. 3d at 334
 2    (citing Cranbury, 943 F.3d at 706).
 3                 To be clear, some district courts have concluded that the federal
 4    government is entitled to impose joint and several liability, even at sites where it is
 5    also a PRP,13 but those cases were decided before the Supreme Court’s ground-
 6    breaking decision in Atlantic Research. Since Atlantic Research, circuit courts,
 7    have clarified this issue. For example, in 2019, the Third Circuit, without
 8    differentiating between government and non-governmental entities, wrote:
 9                 A polluter who settles its CERCLA liability with . . . a state
10          government enjoys immunity under § 9613(f)(2) from contribution
11          claims. In Agere Systems, we held that if a polluter is immune from
12          contribution claims, it cannot bring cost-recovery claims. Agere Sys.,
13          Inc. v. Advanced Envtl. Tech. Corp., 602 F.3d 204, 229 (3d Cir. 2010).
14          Instead, it can bring only contribution claims. Id.
15                 Six other circuits have addressed this issue. All agree.
16    Cranbury, 943 F.3d at 705 (citations omitted). Significantly, the Third Circuit
17    discussed the issue in terms of “polluter” making no distinction between
18    “governmental or nongovernmental” and all of the cited decisions were decided
19    after Atlantic Research.
20                 Accordingly, this Court should hold that the US cannot maintain a cost
21    recovery claim under CERCLA Section 107(a) and that if the US wishes to recover
22    response costs associated with the Site, it must do so through a contribution claim
23    under CERCLA Section 113(f). And to the extent the US responds that it is
24    bringing a contribution claim, then the Court should not allow the US to game the
25    playing field with the lower evidentiary standard normally reserved for non-
26
      13
27      See, e.g., United States v. Simon Wrecking, Inc., 481 F. Supp. 2d 363, 367 (E.D. Pa.
      2007); New York v. Moulds Holding Corp., 196 F. Supp. 2d 210, 214 (N.D.N.Y. 2002);
28    Hunter, 70 F. Supp. 2d at 1101.
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 1    polluting governmental entities. It must, just like other adjudicated and settling
 2    PRPs, deal with the more rigorous standard, otherwise a recalcitrant adjudicated
 3    PRP has an inequitable advantage.
 4          D.     Because the United States is not entitled to the favorable standard
                   and rebuttable presumption in CERCLA Section 107(4)(a), the
 5                 Unites States must show that its alleged response costs are
                   “consistent with the national contingency plan.”
 6
 7                 The US is not entitled to the “rebuttable presumption” of consistency
 8    with the NCP under Section 107, and there is a genuine question of fact as to
 9    whether the US’ claimed response costs are consistent with the NCP. The level of
10    consistency with the NCP that the US must establish in order for it to recover its
11    response costs varies depending on whether the US was acting solely as a regulator
12    or PRP in incurring response costs. In this case, as declared by this Court and the
13    Court of Federal Claims, the US was acting as a liable party in incurring the
14    response costs. As a result, the US is not entitled to the rebuttable presumption of
15    consistency with the NCP in Section 107 with regard to its response costs.
16                 CERCLA Section 107(a) lists four classes of potentially responsible
17    “persons” (PRPs) and provides that they “shall be liable for--(A) all costs of
18    removal or remedial action incurred by the United States Government or a State or
19    an Indian tribe not inconsistent with the national contingency plan.” 42 U.S.C.
20    § 9607(a)(4)(A). The term “person” under the statute includes the United States
21    Government. 42 U.S.C. § 9601(21). CERCLA Section 107(a) further provides that
22    PRPs shall be liable for “any other necessary costs of response incurred by any
23    other person consistent with the national contingency plan.” See 42 U.S.C.
24    § 9607(a)(4)(B) (emphasis added). The purpose of the phrase “any other person” in
25    Section 107(a)(4)(B) is to differentiate the nature, scope, and conditions of cost
26    recovery by governmental entities under Section 107(a)(4)(A), from the nature,
27    scope, and conditions of recovery by entities under Section 107(a)(4)(B). Not only
28    do governmental entities operating under Section 107(a)(4)(A) recover all of their
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 1    response costs, as opposed to necessary costs of response recoverable by entities
 2    proceeding under Section 107(a)(4)(B), but it is undisputed that the purpose of the
 3    phrase “not inconsistent with the national contingency plan” is to make clear that
 4    when governmental entities seek to recover response costs under
 5    Section 107(a)(4)(A) (i.e., in their role as a regulator as opposed to PRP), it is
 6    presumed the costs incurred are consistent with the NCP, thereby imposing on
 7    PRPs the burden of proving otherwise (i.e., that the response action was arbitrary
 8    and capricious). See 42 U.S.C. §§ 9607(a)(4)(B), 9613(j)(2).
 9                   In this case, the US incurred substantial response costs after having
10    been adjudicated a PRP and is limited to seeking recovery under
11    Section 107(a)(4)(B), not as a non-liable governmental entity under Section
12    107(a)(4)(A). The evidence presented by the US does not even attempt to parse out
13    which costs were incurred when the US was acting as a PRP, contesting its liability,
14    such as defense costs, document review costs, or otherwise. Instead, the US lumps
15    all costs together in an attempt to circumvent the appropriate evidentiary standard.
16    If the US claims to be able to wear two hats, then it must, at a minimum, meet the
17    two evidentiary standards depending on which hat it was wearing when the costs
18    were incurred. Accordingly, the US is not entitled to the rebuttable presumption of
19    consistency with the NCP contained in Section 107, which is applicable only when
20    the US has no liability of its own and is operating solely in its traditional regulator
21    role.14
22              E.   Even if the United States can proceed with a claim under
                     CERCLA Section 107, 42 U.S.C. § 9607, the US has failed to
23                   establish that its alleged response costs are recoverable and there
                     is a genuine question of fact as to the United States’ ability to
24                   recover its asserted response costs.

25
      14
26      Alternatively, if the Court concludes that the US is allowed to pursue a cost recovery
      claim under Section 107, in light of the recent United States Supreme Court and Circuit
27    Court decisions and Ninth Circuit precedent, the Court should also conclude that the US
      must pursue its Section 107 cost recovery claim in conjunction with a Section 113(f)
28    contribution claim and establish the recoverability of its costs accordingly.
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 1           The issue of whether a plaintiff has complied with the NCP, so as to support
 2    a finding that plaintiff is entitled to recover its response costs under CERCLA, is a
 3    question of fact. See Aviall Services, Inc. v. Cooper Indus. LLC, 572 F.Supp.2d 676,
 4    688 (N.D. Tex. 2008) (“[C]onsistency with the NCP is a peculiarly fact intensive
 5    question that can normally only be determined at trial, or at least after a full pretrial
 6    record has been prepared.”) (internal citations and quotation marks omitted.) This
 7    issue, like any other fact question, can only be resolved on summary judgment
 8    where the evidence is undisputed. 42 U.S.C. § 9607(a). Here, the Companies have
 9    objected to and contest the proffered evidence supporting costs that the US incurred
10    after the discovery cut-off date. The US has refused to produce verified supporting
11    information and such information does not exist in the administrative record. As a
12    result, the US has not met its burden of proof for summary judgment by providing
13    the required documentation and the Companies are prejudiced in that they are
14    precluded from completing discovery to challenge such costs and establish triable
15    issues of fact.
16           Despite the US’ claim that there are no genuine issues of material fact with
17    respect to these costs, there are several potentially triable issues with the US’
18    alleged costs.
19           First, there is a genuine issue of material fact with regards to the US’ alleged
20    direct costs. Approximately one quarter of the US’ total alleged costs constitute
21    actual agency staff time and contract payments for work at the Site. In his 2006
22    Declaration, Mark Johns of Exponent identified certain issues with the US’ prior
23    work at the Site. (Declaration of Mark W. Johns, ¶¶ 5.2-5.10.) For example, Mr.
24    Johns noted that the EPA failed to provide either the Companies or the public
25    prompt and adequate information, which required the Companies to pursue more
26    than two years of Freedom of information Act (“FOIA”), 5 U.S.C. § 552, as
27    amended, efforts to access information; and the EPA failed to timely implement a
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 1    remedy. (Id.) The record shows disputes regarding the US’ direct costs remain
 2    unresolved, thus, summary judgment is premature.
 3          Second, there are material disputed issues with the US’ alleged indirect costs.
 4    The US claims $6,899,217.86 in indirect costs, for which it seeks $6,468,016.75
 5    after deducting 6.25 percent for its own liability. The US calculated its indirect
 6    costs by applying an annual multiplier that ranged from 27.46 percent to 64.80
 7    percent. This unsupported multiplier was applied not only to agency staff time but
 8    also to contractor payments, which already included the contractors’ own overhead
 9    charges. Some of the indirect costs therefore constitute overhead on overhead. The
10    US cites no statutory authority supporting these types of charges.
11          Third, there is a disputed issue with the US’ alleged “annual allocations” that
12    it also claims on payments to contractors. For those charges, the US has also
13    applied its indirect cost multiplier for each year the annual allocations were
14    incurred plus interest. These charges, which were calculated for each contractor,
15    ranged from 16 to 145 percent of the billings by contractors,’ without an adequate
16    explanation or justification of the disparity.
17          While the US has asserted that annual allocations are just another form of
18    overhead, it has not explained how this purported “overhead” differs from the
19    regular overhead charges that already appear in contractors’ bills or why these
20    multipliers are so excessive as noted in the 2006 Declaration of Richard Pimentel,
21    especially when those charges are further subject to an indirect cost multiplier.
22    (Declaration of Richard A. Pimentel, ¶¶ 11, 15-25.) In fact, the US has not met its
23    prima facie burden of showing that these costs constitute response costs incurred as
24    a result of a release or threatened release at the Site. To support these charges, the
25    US relies on an Eighth Circuit decision, which concluded that certain cost
26    documentation was sufficient. See United States v. Findett Corp., 220 F.3d 842,
27    848-49 (8th Cir. 2000). However, there, the defendant’s challenge of those costs
28    was limited to arguments regarding the sufficiency of the documentation and there
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 1    is no indication that the defendant challenged the basis or recoverability of the
 2    underlying costs themselves. Id.
 3          Finally, the US has miscalculated its alleged interest. The US claims
 4    $26,850,574.05 in interest, which it has calculated from the date on which each cost
 5    was incurred rather than from the date on which the US first demanded each
 6    specified amount. Applying the 6.25 percent deduction to the purported direct and
 7    indirect costs, the US seeks interest totaling $25,172,413.18. This approach
 8    conflicts with the plain language of CERCLA and overstates the amount of interest.
 9          Under CERCLA, interest does not begin to accrue until “the later of (i) the
10    date payment of a specified amount is demanded in writing, or (ii) the date of the
11    expenditure concerned.” 42 U.S.C. § 9607(a) (emphasis added.) The US has argued
12    that its approach is justified asserting that its 1991 complaint constituted a written
13    demand for costs, thereby satisfying the demand requirement for all subsequent
14    costs. While a few courts have held that a complaint can constitute a written
15    demand under CERCLA’s interest provision, “the majority of cases demonstrate
16    that while an exact amount need not be demanded, some specified amount must be
17    identified,” especially because the plaintiffs in those cases “needed only to send a
18    letter demanding payment of the amount of the expenditures.” See, e.g., Valbruna
19    Slater Steel Corp. v. Joslyn Mfg. Co., No. 1:10-CV-044 JD, 2018 WL 2328447, at
20    *7 (N.D. Ind. May 22, 2018) (finding that “statute clearly and unambiguously
21    requires a written demand for a ‘specified amount’” and denying interest on costs
22    prior to “when plaintiffs demanded payment of a specified amount in writing”). In
23    its 2006 reply brief on its prior motion for summary judgment, the US admitted that
24    the 1991 complaint “did not specify an exact amount.” (See Docket No. 584.) In
25    fact, the complaint did not identify any dollar figure at all for post-1991 costs,
26    merely referencing the sum of “at least $15,000,000” for past costs of the US and
27    State combined. The Companies already reimbursed the US for all costs incurred as
28    of the 1991 complaint, so that amount is no longer at issue. The Ninth Circuit has
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 1    not yet addressed interest accrual under CERCLA. However, under the plain
 2    language of the statute, interest on later costs did not begin to accrue until those
 3    “specified amounts” were first demanded in the US’ subsequent cost computations.
 4          Furthermore, as an equitable matter, the Court should not allow the US to
 5    charge the Companies interest incurred during the 12-year stay while the US
 6    contested its own liability (and was ultimately unsuccessful) in the Court of Federal
 7    Claims and Federal Circuit Court of Appeals.
 8          As discussed above, the evidence supporting costs that the US incurred after
 9    the discovery cutoff date is very much at issue. The US’ refusal to participate in
10    discovery and produce verified supporting information (which does not exist in the
11    administrative record) has prejudiced the Companies’ ability to access and review
12    the documentation that the US is relying on to support such costs. The propriety
13    and the evidentiary support for US’ claimed right to recover its asserted response
14    costs are genuine issues of material fact that precludes summary judgment.
15                                    V.     CONCLUSION
16          For the reasons stated above, the Companies respectfully request that this
17    Court deny the US’ Motion for Partial Summary Judgment As to the Amount of
18    Recoverable Responses Costs. The Companies further request that the Court permit
19    oral argument on the Motion.
20
21    Dated: August 10, 2020               ALSTON & BIRD LLP
22
                                           By: /s/Greg A. Christianson
23                                              Greg Christianson
24                                         Attorney for Defendants
                                           SHELL OIL COMP ANY, TEXACO INC.,
25                                         ATLANTIC RICHFIELD COMPANY, AND
                                           UNION OIL COMPANY OF CALIFORNIA
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